        Case 1:21-mj-00396-ZMF Document 46 Filed 11/07/22 Page 1 of 1



          IN THE UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )
                                              ) CRIM NO. 21-MJ-396
ERIC CLARK,                                   )
                                              )
                                              )
Defendant.                                    )
                                       ORDER

      Based upon the representations in the Unopposed Motion to Continue the
Status Hearing and to Exclude Time Under the Speedy Trial Act, and upon
consideration of the entire record, it is hereby
      ORDERED that the Motion is GRANTED; it is further
      ORDERED that the currently scheduled Status Hearing on November 8,
2022, be continued for good cause to November 15, 2022 at 1:00 p.m.; it is further
       ORDERED that the time between November 8, 2022 and November 15,
2022 shall be excluded from calculation under the Speedy Trial Act, see 18 U.S.C.
§ 3161(h)(7)(A). The Court finds that the ends of justice served by the granting of
such a continuance outweigh the best interests of the public and the defendant in a
speedy trial, as a continuance will provide the parties additional time to
communicate about the case.                                     Digitally signed by Moxila
                                                                    A. Upadhyaya
                                                                    Date: 2022.11.07 10:48:46
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                                               ______________________________
                                               The Honorable Moxila A. Upadhyaya
                                               United States Magistrate Judge
